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                                                                     FORM 1
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                  ASSET CASES
Case No:             13-00240              JCO      Judge:     Jerry C Oldshue                Trustee Name:                       D. Parker Sweet
Case Name:           Donna Fuller Little                                                      Date Filed (f) or Converted (c):    05/12/2014 (c)
                                                                                              341(a) Meeting Date:                06/02/2014
For Period Ending:   03/14/2019                                                               Claims Bar Date:                    09/09/2014


                           1                                      2                      3                     4                     5                    6

                  Asset Description                             Petition/           Est Net Value     Property Formally          Sale/Funds           Asset Fully
      (Scheduled and Unscheduled (u) Property)                Unscheduled        (Value Determined       Abandoned               Received by        Administered
                                                                Values            by Trustee, Less       OA=554(a)                the Estate            (FA)/
                                                                                 Liens, Exemptions,                                                 Gross Value of
                                                                                  and Other Costs)                                                 Remaining Assets

  1. 1/2 Interest With Father In Property Located In               47,500.00              17,000.00                                   17,000.00                 FA
     Cullman, AL.

     ...County Road 1215.
     Debtor's Schedule A value reflects tax appraisal
     value divided by one-half. Actual market value for
     an undivided one-half interest is substantially
     less.
     Sale authorized by Order entered 7/8/15 (Doc.
     133). Sale is in conjunction with sale of Asset #2
     for a total gross price of $30,000.00. Trustee has
     apportioned sales proceeds relative to each
     asset's scheduled value.
     Amended Order approving sale (Doc. 140)
     entered 9/4/15 replaces truncated with full legal
     descriptions.
     See also Trustee's Report of Sale (Doc. 142).
  2. 1/3 Interest In House (Father's Homeplace) 411                38,667.00              13,000.00                                   13,000.00                 FA
     County Road..

     ...1215 Vinemont, AL 35179.
     Debtor's Schedule A value reflects tax appraisal
     value divided by one-third. Actual market value
     for an undivided one-third interest is substantially
     less.
     Sale authorized by Order entered 7/8/15 (Doc.
     133). Sale is in conjunction with sale of Asset #1
     for a total gross price of $30,000.00. Trustee has
     apportioned sales proceeds relative to each
     asset's scheduled value.
     Amended Order approving sale (Doc. 140)
     entered 9/4/15 replaces truncated with full legal
     descriptions.
     See also Trustee's Report of Sale (Doc. 142).
  3. House & Lot Mortgaged To Bank Of America And                 189,900.00                   0.00                                        0.00                 FA
     Compass Bank...

     ...24968 STEADFAST COURT DAPHNE, AL
     36526 (SUBJECT TO CHINESE DRYWALL
     CLAIM).

     RFS granted to Nationstar Mortgage 10/02/2014
     (Doc. 103). RFS Order specifies that remediation
     portion of Chinese drywall claim belongs to the
     mortgage holder, but any personal injury portion
     of the claim remains property of the bankruptcy
     estate.

     Mortgage foreclosed 05/19/15. Foreclosure deed
     recorded 5/21/15 at Instrument #1514151,
     probate records of Baldwin County.
  4. Cash On Hand                                                      20.00                   0.00                                        0.00                 FA
  5. Checking Account With Regions Bank                               500.00                   0.00                                        0.00                 FA
  6. Security Deposit For Magnolia Townhomes                          700.00                 699.00                                        0.00                 FA
  7. Ordinary Household Goods                                         400.00                   0.00                                        0.00                 FA



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                                                                      FORM 1
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                                                                   ASSET CASES
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                  Asset Description                              Petition/           Est Net Value       Property Formally         Sale/Funds            Asset Fully
      (Scheduled and Unscheduled (u) Property)                 Unscheduled        (Value Determined         Abandoned              Received by         Administered
                                                                 Values            by Trustee, Less         OA=554(a)               the Estate             (FA)/
                                                                                  Liens, Exemptions,                                                   Gross Value of
                                                                                   and Other Costs)                                                   Remaining Assets

  8. Personal Clothing                                                  100.00                    0.00                                         0.00                FA
  9. 401K                                                                  1.00                   0.00                                         0.00                FA
 10. Class Action Lawsuit For Chinese Drywall With                         1.00               Unknown                                      9,338.53          Unknown
     Doyle Law Firm

     Per Order granting RFS to Nationstar Mortgage
     entered 10/02/2014 (Doc. 103), any remediation
     portion of Chinese drywall claim belongs to the
     mortgage holder, but any personal injury portion,
     if such exists, of the claim remains property of
     the bankruptcy estate.

     Suit is MDL-2047 Chinese Manufactured Drywall
     Products Liability Litigation, pending in the US
     District Court for the Eastern District of Louisiana.
     The court's public information site for the MDL is
     www.laed.uscourts.gov/drywall/drywall.htm
 11. 2005 Honda Pilot (194K Miles)                                     4,200.00               3,186.00                                     3,100.00                FA

     Order approving compromise and buy-back
     agreement with debtor entered 09/03/14 (Doc.
     99).
     Per Order, Trustee accepts total of $6,000 from
     Debtor for non-exempt equity in 2005 Honda Pilot
     and 2005 Nissan Altima.
 12. 2011 Toyota Camry Financed With World Omni                     11,000.00                     0.00                                         0.00                FA
 13. 2005 Nissan Altima (146K Miles)                                   4,000.00               2,986.00                                     2,900.00                FA

     Order approving compromise and buy-back
     agreement with debtor entered 09/03/14 (Doc.
     99).
     Per Order, Trustee accepts total of $6,000 from
     Debtor for non-exempt equity in 2005 Honda Pilot
     and 2005 Nissan Altima.
 14. Laptop Computer                                                     50.00                    0.00                                         0.00                FA
 15. Class Action against Baldwin County Sewer                             1.00                   0.00                                     1,350.00                FA
     Stystem

     Bruce Allen and Kelly Allen, et al. v. Baldwin
     County Sewer Service, LLC, et al, Case No. 05-
     CV-2013-900230, in the Circuit Court of Baldwin
     County, Alabama.

     Settlement approved by Order entered 03/30/15
     (Doc. 124).


                                                                                                                                    Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                               $297,040.00            $36,871.00                                    $46,688.53                $0.00
                                                                                                                                    (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:



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05/12/14: Case converted from Chapter 13 to Chapter 7. Trustee assigned.
06/06/14: Asset overage letter sent to debtor and counsel. Notice of Assets filed - (later withdrawn and refiled 6/11/14 to correct govt POC
bar date error)
06/11/14: Corrected Notice of Assets filed - Proofs of Claims due 9/9/14; Govt. POC bar date due 9/9/14
06/16/14: Nationstar Mortgage MFR filed re: 24968 STEADFAST COURT DAPHNE, AL (pay off $185,935.03).
07/02/14: Phone call w/ debtor re: compromising non-exempt personal property amount. Draft motion to approve compromise sent to
debtor's counsel for review.
07/07/14: Motion to approve compromise of personal property exemption overage filed. Overage $6871.00, Debtor to pay $6000 within
60 days of July 2, 2014.
07/10/14: Sent email to Special Counsel Jimmy Doyle re: update on status of Chinese drywall litigation.
Debtor paid off exemption overage for tangible personal property.
09/03/14: Order Granting Motion to Compromise entered (Doc. 99) $6000 to be paid by Sept.30, 2014 for 2005 Honda Pilot and 2005
Nissan Altima.
10/02/14: Order Granting Nationstar Mortgage MFR including the Chinese Drywall Claim (Doc 103)
10/06/14: Final Decree entered (Doc. 106) [entered in error, later vacated. Final Decree date did not auto-import into Trustee's Case
Management Software (TCMS) and did not trigger any alerts.]
02/13/15: Trustee's motion to vacate erroneous Final Decree filed (Doc. 109)
02/19/15: Application to employ Special counsel, Citrin Law Firm in Allen et al v. Baldwin County, Alabama (Doc111) and motion to
approve settlement (Doc 112) filed by debtor, with Trustee's consent.
02/26/15: Sent email to Terrie Owens, prospective attorney for the estate, re: interest in the case.
02/27/15: Phone conference with Special Counsel Doyle for the Chinese drywall claim re: claim against one defendant settled, proceeds
to be remitted to the estate; status of claims against other defendants; MDL case expected to remain open for several more months or
longer. Current status: Trustee's motion to vacate/set aside erroneous Final Decree pending. Motion to approve settlement of BCSS suit
pending. One portion of Chinese drywall claim settled, but litigation otherwise still pending.
03/12/15: Application to employ Terrie Owens as attorney for the Trustee filed (Doc. 117)
03/16/15 Motion to approve settlement distribution in BCSS case filed. (Doc 119)
03/27/15: Order entered granting application to hire Citrin Law Firm as special counsel re: BCSS suit and to approve compensation.
03/30/15: Order entered granting Amended Motion to Approve Settlement (BCSS case) (Doc 124).
Estate counsel Owens negotiating sale of jointly-owned Cullman County property.
04/01/15: Order entered granting Trustee's motion to vacate/set aside erroneous Final Decree (Doc. 125)
06/15/15: Trustee's Proposal and Notice for Private Sale of Real Property in Cullman County filed (Doc 130).
Form 1 Report filed 06/19/15 - proposed sale pending Court approval.
07/08/15: Order entered approving sale of Cullman County properties to Marcus D. Fuller for total of $30,000 (Doc. 133).
07/15/15: Email sent to special counsel Doyle re: itemization of Chinese Drywall settlement in order to prepare mtn to approve
settlement/distribution nunc pro tunc. Rec'd response 7/17 stating that amount remitted to date is only a partial settlement of claims
against some defendant entities and that other claims remain outstanding. None of the settlement funds so far are for any remediation
claims, and no deductions have been made from the gross settlement amounts so far for attorney's fees or pro rata expenses. Special
counsel is hoping for a final resolution in the coming months. Trustee likely to delay filing motions to approve settlement and for Special
Counsel compensation until all aspects of claim are ready for settlement.
07/17/15: Order entered authorizing employment of Terrie Owens as attorney for the estate nunc pro tunc (Doc. 136)
[Entry of this order when application to employ was first received apparently overlooked by chambers staff due to the multiple motions to
employ special counsel pending around that time.]
09/04/15: Amended Order (Doc. 140) entered approving sale of real property in Cullman Co. Amended Order replaces truncated legal
descriptions with full descriptions.
08/05/15: Funds received from buyer for sale of interests in Cullman Co. property.
08/20/15: Received letter from Doyle Law Firm with final check from Chinese drywall litigation.
10/08/15: Trustee's Report of Sale filed re: 411 CR 1215 Vinemont, AL and other parcels in Cullman County, AL. Gross sale price $30k
(Doc 142).
01/22/16: Objections filed to claims of Compass, Nationstar, and World Omni (Claims 2,4,5)
02/17/16: Current status: Only outstanding asset not fully administered is remaining claims in Chinese Drywall case. Claims objections
pending.
02/19/16: Withdrew objections to claims filed in January (Doc. 144, 145, 146). Re-filed objections to claims 2, 4, & 5 with corrected notice
addresses for claimants (Doc. 150, 151, 152).
03/25/16: Orders entered sustaining objections to claims # 2,4, and 5 (Docs 153, 154, and 155)
03/28/16: Emailed inquiry to special counsel re: status of Chinese drywall litigation. Received response that claims against the defendant
manufacturer are still unresolved and depositions are ongoing.
05/18/16: Emailed inquiry to special counsel re: status of Chinese drywall litigation, also inquired about estimate of fees and expenses to
date.
10/26/16: Emailed Jimmy Doyle regarding the status of the Chinese drywall litigation. He is special counsel and there was supposed to
be MDL status conference on the 20th.
10/28/16: The Taishan Chinese Drywall litigation is having a status conference on November 23rd.
11/30/16: Called Doyle office for update on Drywall litigation. Left message.
12/02/16: Sent an email to Doyle for an update on drywall litigation. Called Doyle's office. Email came back from Doyle and he said that
nothing has been resolved. No settlement was reached. Because they're at an impasse, the judge lifted the stay and they're now going
back to active litigation. If any progress is made he'll be sure to give update.
01/12/17: Sent an email to Jimmy Doyle for an update on the drywall litigation.
03/23/17:An email was sent to Jimmy Doyle for an update on the drywall litigation.
03/24/17: Jimmy Doyle responded to the email to state that they have not been able to negotiate an acceptable deal with the
manufacturing defendants. He said that they have multiple issues before the MDL court including the remand of all Taishan cases out of
the MDL for continued litigation in the transferor courts.
04/27/17: An email was sent to Jimmy Doyle for an update on the drywall litigation.
05/25/17: Called Jimmy Doyle's office for the status of the drywall litigation. She said it is basically the same as it has been for the last 4
years. She said they would notify us if there were any changes.
06/22/17: An email was sent to Terrie Owens and to Jimmy Doyle asking for invoices and fees and expenses.
07/05/17: An email was sent to Jimmy Doyle asking for invoices, fees and expenses.
07/06/17: Doyle responded estimating the debtor's pro rata portion is slightly less than $600. The litigation is still active.
08/24/17: James Doyle responded to an email sent today stating that the chinese drywall litigation is still active - motion practice at the
moment. They were not able to reach an agreement earlier this month during settlement negotiations.
10/26/17: An email was sent to James Doyle for an update on the status of the Chinese Drywall Litigation. (Form 1 filed (Doc 163))
10/27/17: Mr Doyle responded to the email by saying that the case is very active right now and expects the court to provide guidance on


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several key issues in the near future.
11/30/17: Sent an email to special counsel for update on Chinese Drywall Litigation.
01/04/18: Following up on Chinese Drywall Litigation (no response from last two e-mails)
01/09/18: An email from her attorney for the Chinese Drywall was received that some kind of settlement or judgment should be reached
within the next 60 days.
04/26/18: Email from Doyle re: partial settlement check for $922.56 received.
05/03/18: Email to Doyle re: instruction to forward partial settlement funds to trustee's office; inquiry whether final settlement or not.
Received response from Doyle: claims remain against the Taishan manufacturers for full remediation costs.
05/17/18: Application for Compensation for TSO filed (Doc. 165). Instructions sent to resume bank fees. Emailed inquiry to Doyle re:
estimate of remaining claims outstanding. Form 1 Report filed.

Current status: Chinese drywall MDL still has some claims outstanding after partial settlement. Application for compensation for Terrie
Owens is pending. Resolution of outstanding drywall claims and approval of compensation for counsel and special counsel only
remaining issues prior to Final Report.

06/25/18: Order approving attorney compensation and expenses. 14 day stay is waived. (Doc 172)

11/10/18: An email from Plaintiff's counsel, Jimmy Doyle, states that they were not able to negotiate a settlement with the defendants and
that cases were being remanded from the MDL court and set for trial, starting with Louisiana, Florida and Virginia cases. He expects
them to begin trials in April or May of 2019. If those trials lead to a broader settlement, it will very likely include all claims in all states,
including Alabama.

03/14/19: Status update - Some Chinese Drywall claims remain outstanding and will proceed to trial. Special Counsel expects trials to
commence in April or May 2019. Estate funds have been moved into an account which does not incur bank fees. Form 1 Report filed.




Initial Projected Date of Final Report (TFR): 10/19/2015            Current Projected Date of Final Report (TFR): 10/19/2015

Trustee Signature:         /s/ D. Parker Sweet         Date: 03/14/2019
                           D. Parker Sweet
                           Chapter 7 Bankruptcy Trustee
                           P.O. Box 537
                           Daphne, AL 36526
                           (251) 626-3322
                           trustee@sweetlawalabama.com




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